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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

   UNITED STATES OF AMERICA

   v.                                          CASE NO. 6:20-cr-80-Orl-37DCI

   PETRA GOMEZ

    CORRECTED NOTICE OF ELEMENTS OF OFFENSE, PENALTIES,
      FACTUAL BASIS AND PERSONALIZATION OF ELEMENTS

         The United States of America, by Maria Chapa Lopez, United States

   Attorney for the Middle District of Florida, hereby files this Notice of

   Elements of Offenses, Penalties, Factual Basis and Personalization of

   Elements, stating as follows:

                          ELEMENTS OF THE OFFENSES

         The defendant is pleading guilty to Counts One and Two of the

   Indictment. Count One charges the defendant with conspiracy to defraud the

   United States, Department of the Treasury, Internal Revenue Service with

   respect to claims, in violation of 18 U.S.C. § 286. Count Two charges the

   defendant with Tax Evasion, in violation of 26 U.S.C. § 7201.

         The elements of Count One are:

                First:        Two or more people in some way agreed to try to
                              accomplish a shared and unlawful plan;

                Second:       The Defendant knew the unlawful purpose of the
                              plan and willfully joined in it; and
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                Third:        The plan was to defraud the government by
                              obtaining the payment or allowance of a claim
                              based on a false or fraudulent material fact.

         The elements of Count Two are:

                First:        The Defendant owed substantial income tax in
                              addition to the amount declared on her tax return;

                Second:       The Defendant knew when she filed that income tax
                              return she owned substantially more taxes than the
                              amount reported on her return; and

                Third:        The Defendant intended to evade paying taxes she
                              knew she was required by law to pay.

                                    PENALTIES

         The penalty for the offense charged in Count One of the Indictment is a

   maximum sentence of 10 years’ imprisonment, a fine of not more than

   $250,000, or twice the gross gain caused by the offense, or twice the gross loss

   caused by the offense, whichever is greater, a term of supervised release of not

   more than three years, and a special assessment of $100.

         The penalty for the offense charged in Count Two of the Indictment is a

   maximum sentence of five years’ imprisonment, a fine of not more than

   $100,000, a term of supervised release of not more than three years, and a

   special assessment of $100.

         As to both offenses, the defendant shall be required to make full

   restitution to the U.S. Department of the Treasury, Internal Revenue Service.


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          The defendant has been advised and understands that, upon conviction,

   a defendant who is not a United States citizen may be removed from the

   United States, denied citizenship, and denied admission to the United States

   in the future.

                                 FACTUAL BASIS

   COUNT ONE

          Beginning on an unknown date, but at least by in or about January

   2012, and continuing through at least June 2016, in the Middle District of

   Florida and elsewhere, the defendant, Petra GOMEZ, conspired with her

   sister, Jakeline Lumucso (Lumucso) and others, to defraud the Internal

   Revenue Service (“IRS”), by submitting false tax returns to obtain fraudulent

   tax refunds through GOMEZ’s business, Universal Tax and its related entities.

   GOMEZ and Lumucso prepared and caused others to prepare false tax

   returns by using the unauthorized personal information of previous tax clients

   and submitting false wage, income, dependent and other material information

   on the returns to obtain fraudulent tax refunds. GOMEZ knew the unlawful

   purpose of the plan and voluntarily joined in it.

          GOMEZ was the sole owner of Universal Tax, LLC, also known as

   Universal Tax Latino, LLC, a tax preparation business she established in 2010

   as a sole member LLC. Lumucso managed the day-to-day operations of




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   Universal Tax and acted at the direction of GOMEZ. Initially, GOMEZ

   operated Universal Tax from an office located at 12315 West Colonial Drive,

   Winter Garden. In or about 2011, GOMEZ opened three more offices located

   at (1) 851 State Road 436, Suite 1023, Altamonte Springs; (2) 5805 South

   Orange Blossom Trail, Orlando; and (3) 6412 West Colonial Drive, Orlando.

   GOMEZ also briefly operated an office in Tampa, Florida. GOMEZ and

   Lumucso hired individuals to prepare tax returns at each of the locations.

   GOMEZ instructed Lumucso to hire individuals who had no tax preparation

   experience and who spoke Spanish.

         GOMEZ and Lumucso obtained Electronic Filing Identification

   Numbers (“EFIN”) from the IRS for each of Universal Tax’s office locations,

   which authorized Universal Tax to participate in the IRS’s e-file program and

   electronically file tax returns from each of its locations. GOMEZ marketed

   Universal Tax to the Latino community, and many of her tax clients were

   undocumented and nonresident aliens. GOMEZ also traveled to agricultural

   farms in Georgia and Florida and prepared false tax returns for foreign

   workers, which she filed through Universal Tax. In addition to preparing tax

   returns, GOMEZ and Lumucso also prepared and caused others to prepare

   and submit applications for Individual Taxpayer Identification Numbers

   (“ITIN”) to the IRS. An ITIN was a processing number that enabled




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   undocumented and nonresident aliens who worked in the United States to file

   tax returns and obtain tax refunds. The ITIN was a unique nine-digit number

   with the format 9xx-xx-xxxx. GOMEZ and Lumucso submitted and caused

   others to submit false utility and other residency documents to the IRS to

   obtain ITINs for their clients, and to place those documents in their clients’

   folders to use for a potential IRS audit.

         GOMEZ charged about $50 to prepare an ITIN application and

   approximately $300 to prepare a tax return. On Universal Tax’s Facebook

   page and on signage outside of her offices, GOMEZ advertised “100% Refund

   Guarantee.” GOMEZ and Lumucso placed instruction sheets at each of the

   computers in the offices containing income amounts, exemptions and credits

   that could be added to a tax return to generate a refund, such as dependents.

         Beginning in about 2012, GOMEZ and Lumucso also instructed

   employees to file fraudulent tax returns using the personal information of

   previous Universal Tax clients without their consent. GOMEZ instructed

   preparers to submit the false returns when the IRS filing season opened, and

   provided them with false wage information, W-2s, identification documents

   and dependent information to use on the returns to generate tax refunds.

   GOMEZ directed employees to use the names and ITINs of previous clients

   without their consent on the returns, believing that many of the clients had




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   either returned to their native Countries or were transient and had moved. If

   one of these clients returned to have Universal Tax prepare a tax return,

   GOMEZ and Lumucso instructed the preparers to lie to the client and state

   that a return had already been prepared and filed due to a computer glitch, or

   to pretend to prepare a tax return while the client waited. At times, and

   through 2016, GOMEZ gave preparers foreign identification documents and

   ITINs and asked them to prepare tax returns using only that information.

   GOMEZ directed the preparers to play with the numbers to ensure that the

   returns generated refunds.

         GOMEZ processed tax refunds through a third-party processor, and

   Lumucso at times was responsible for printing the tax refund checks, after the

   IRS notified the processor that the IRS had issued the refund. The processor

   deducted Universal Tax’s tax preparation fee from the refund and deposited

   the refunds into Universal Tax’s business account. Lumucso and others

   placed the fraudulently obtained refund checks in lock boxes, and GOMEZ

   and other unindicted co-conspirators fraudulently cashed the unclaimed

   refund checks at check cashing businesses located in Ocala and other areas in

   central Florida.

         On January 27, 2014, Universal Tax filed a false 2013 tax return using

   M.G.’s name and ITIN without M.G.’s consent. Previously, Universal Tax




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   prepared M.G.’s 2011 tax return, but M.G. went to a different preparer to

   have M.G.’s 2013 tax return prepared. The IRS rejected the return, because

   Universal Tax had already filed a 2013 tax return using M.G.’s personal

   information without M.G.’s consent. M.G. confirmed that her name and

   ITIN were correct on the return, but the wage information and W-2 attached

   to the return were false.

         Similarly, on February 7, 2014, Universal Tax filed a false joint 2013

   tax return using the personal information belonging to G.C. and N.G. without

   their consent. Lumucso was listed as the preparer on the return and it was

   filed from the Winter Garden office. The victims previously had their 2011

   and 2012 tax returns prepared at Universal Tax, but decided not to have

   Universal Tax prepare their 2013 tax return, because the IRS flagged their

   2012 tax return as false. G.C. and N.G. confirmed that their names and ITIN

   were correct on the 2013 return, but the W-2 and wage information on the

   return were false.

         On January 28, 2014, GOMEZ prepared and filed a false 2013 tax

   return using the personal information belonging to J.P., who lived in Georgia.

   GOMEZ filed the return from the Winter Garden office. GOMEZ previously

   prepared J.P.’s 2012 tax return when she traveled to Georgia to prepare

   returns. J.P. learned about the false return when J.P. attempted to file his




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   2013 tax return prepared by a different preparer and the IRS advised him that

   a 2013 return had already been filed. J.P. confirmed that his name and ITIN

   were correct on the 2013 return, but the wage and dependent information on

   the 2013 return that GOMEZ filed were false and that the W-2 attached to the

   2013 return was false. J.P. notified the state police, who then notified the IRS.

          On or about April 22, 2014, the IRS notified GOMEZ that it had

   suspended GOMEZ and Universal Tax from participating in the IRS’s e-file

   program for filing fraudulent tax returns and revoked Universal Tax’s EFINs.

   Thereafter, in or about May 2014, in order to defraud the IRS, GOMEZ and

   Lumucso changed Universal Tax’s name to Universal Financial, Inc., and

   listed Universal Tax’s Winter Garden office as Universal Financial’s principal

   address with the State of Florida. Between in or about June 2014, and in or

   about July 2014, Lumucso and GOMEZ obtained EFINs for Universal Tax’s

   office locations using the name Universal Financial, Inc. Lumucso listed

   herself as the principal of the business and the primary contact on the EFIN

   application. GOMEZ and Lumucso continued to operate Universal Tax and

   e-file or cause others to e-file false tax returns to the IRS using Universal

   Financial’s EFINs.

          In or about October 2015, the IRS suspended Lumucso and Universal

   Financial, Inc., from participating in the IRS’s e-file program and revoked




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   Universal Financial’s EFINs due to fraud. In order to defraud the IRS, on or

   about October 26, 2015, GOMEZ and Lumucso incorporated Resurrection

   Tax, Inc., a shell corporation, in the name of GOMEZ’s daughter, and listed

   Universal Tax’s Winter Garden office address as Resurrection Tax’s principal

   address with the State of Florida. On or about November 5, 2015, GOMEZ

   and Lumucso, applied for, and obtained an EFIN for Universal Tax’s Winter

   Garden office in the name Resurrection Tax, Inc. GOMEZ and Lumucso

   listed GOMEZ’S daughter as the principal of the business and the primary

   contact on the EFIN application and continued to e-file or cause others to e-

   file false tax returns to the IRS using Resurrection Tax’s EFIN.

         On or about October 26, 2015, GOMEZ and Lumucso incorporated

   Living Faith Tax, Inc., a shell corporation, in the name of one of Universal

   Tax’s employees, and listed Universal Tax’s South Orange Blossom Trail

   office address as Living Faith Tax’s principal address with the State of Florida.

   On or about November 3, 2015, GOMEZ and Lumucso applied for, and

   obtained an EFIN for Universal Tax’s South Orange Blossom Trail office in

   the name Living Faith Tax, Inc. GOMEZ and Lumucso listed the employee

   as the principal of the business and the primary contact on the EFIN

   application, and continued to e-file or cause others to e-file tax returns using

   Living Faith Tax’s EFIN.




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         On or about October 27, 2015, GOMEZ and Lumucso incorporated

   Living Hope Tax, Inc., a shell corporation, using the name of GOMEZ’s then

   son-in-law, and listed Universal Tax’s Altamonte Springs office address as

   Living Hope Tax’s principal address with the State of Florida. On or about

   November 6, 2015, GOMEZ and Lumucso applied for, and obtained an EFIN

   for Universal Tax’s Altamonte Springs office in the name of Living Hope Tax,

   Inc. GOMEZ and Lumucso listed GOMEZ’S son-in-law as the principal of

   the business and the primary contact on the EFIN application and continued

   to e-file or cause others to e-file tax returns using Living Hope Tax’s EFIN.

         GOMEZ and Lumucso, through Universal Tax and its related entities,

   submitted or caused the submission of at least 7234 false tax returns claiming

   tax refunds to the IRS. The fraud loss is more than $9.5 million and less than

   $25 million dollars.

         GOMEZ used the proceeds to fund a lavish lifestyle, including

   purchasing vehicles, jewelry, and vacations. In addition, during the period

   2013 and 2014, GOMEZ built luxury homes for herself and for Lumucso and

   paid more than $1.3 million in cash for her home and more than $800,000 for

   Lumucso’s home. GOMEZ also previously paid Lumucso about $250,000 in

   commissions.




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   COUNT TWO

         From in or about March 2014 through on or about April 15, 2015, in

   the Middle District of Florida, GOMEZ willfully attempted to evade and

   defeat a substantial part of the income tax due and owing by her to the United

   States for calendar year 2014 by (1) filing a false 2014 joint U.S. individual tax

   return, (2) failing to file a tax return by April 15, 2015, following the IRS’s

   rejection of her return; (3) concealing the sources and amounts of her true and

   correct income by diverting funds from Universal Tax to obtain cashier’s

   checks to pay for two luxury, custom-built houses; and (4) concealing the

   sources and amounts of her true and correct income by placing her assets in

   the name of a nominee.

          Specifically, in or about April 2015, GOMEZ authorized Lumucso to

   electronically file her 2014 joint U.S. individual tax return. On the return,

   GOMEZ falsely reported that she had received total income of $213,434,

   when she knew that she had received income of at least $1,110,508. The IRS

   immediately rejected the return because it included a mismatched or duplicate

   social security number. After the IRS rejected the return, GOMEZ did not file

   another return. Gomez also did not file a return for Universal Tax.

          GOMEZ earned substantially more income than what she reported on

   her rejected 2014 tax return. Specifically, in 2014, Gomez diverted funds from




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   Universal Tax and used the funds to purchase cashier checks to pay for two

   luxury, custom built houses.

         On March 2, 2013, GOMEZ executed an Agreement of Sale with a

   custom homebuilder for the construction of a house for herself and Lumucso.

   GOMEZ made all of the decisions regarding her house, including choosing

   the upgrades and design, and lived in the house when it was completed. The

   final sales price of GOMEZ’s house was $1,356,561, and the final sales price

   for Lumucso’s house was $1,014,092.

         The builder required GOMEZ to provide proof of income. Toward that

   end, GOMEZ submitted an application stating that she earned over $1 million

   per year. She also submitted a falsified bank statement from her personal

   Regions bank account 1906. The numbers on the statement were altered to

   show a beginning balance of $2,206,407.17, when the actual statement showed

   a balance of $2,829.17. The numbers for the ending balance and average

   monthly balance were also altered, along with a few deposits.

         During 2013 and 2014, Gomez withdrew and caused others to

   withdraw funds from Universal Tax’s bank account and used the funds to pay

   for both houses. In 2014, she purchased or caused others to purchase three

   cashier’s checks using funds from Universal Tax totaling $429,688, and

   tendered the checks as final payment for her house. Similarly, in 2014, she




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   purchased or caused others to purchase four cashier’s checks, totaling

   $680,820 using funds from Universal Tax, and tendered the checks as payment

   for Lumucso’s house. GOMEZ admitted during an interview that she

   purchased the house for Lumucso as a gift.

         GOMEZ did not report this income on her 2014 return, and following

   the IRS’s rejection of the return, did not file another 2014 return and report the

   income to the IRS. To further evade the assessment and payment of her taxes,

   GOMEZ titled the house in the name of her then 19-year-old daughter, and

   recorded the warranty deed in the public record. In 2014, GOMEZ also

   purchased a Puma Travel Trailer and titled it in the name of her 19-year-old

   daughter.

         The tax due and owing for 2014 is $510,999, excluding interest and

   penalties.

                      PERSONALIZATION OF ELEMENTS


   COUNT ONE


         First:        Did you agree with Jakeline Lumucso and others to try to
                       accomplish a shared and unlawful plan?

         Second:       Did you know the unlawful purpose of the plan and
                       willfully join in it?

         Third:        Was the plan to submit false and fraudulent tax returns to
                       the IRS to obtain fraudulent tax refunds?



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   COUNT TWO


         First:      Did you owe substantial income tax in addition to the
                     amount declared on your rejected joint 2014 U.S.
                     individual income tax return, Form 1040?

         Second:     Did you know that when you filed or caused the filing of
                     that income tax return you owed substantially more taxes
                     than the amount reported on that rejected return?

         Third:      Thereafter, did you fail to file a 2014 U.S. individual
                     income tax return, Form 1040?

         Fourth:     Did you intend to evade paying taxes you knew you were
                     required by law to pay.

                                           Respectfully submitted,

                                           MARIA CHAPA LOPEZ
                                           United States Attorney


                                     By:   /s/ Karen L. Gable
                                           KAREN L. GABLE
                                           Assistant United States Attorney
                                           AUSA No. 025
                                           400 West Washington Street, Suite 3100
                                           Orlando, Florida 32801
                                           Telephone: (407) 648-7500
                                           Facsimile: (407) 648-7643
                                           E-mail:     karen.gable@usdoj.gov




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                           CERTIFICATE OF SERVICE

          I hereby certify that on November 16, 2020, I electronically filed the

   foregoing with the Clerk of the Court by using the CM/ECF system, which

   will send a notice of electronic filing to the following:

                 Vince A. Citro, Esq.




                                              /s/ Karen L. Gable
                                              KAREN L. GABLE
                                              Assistant United States Attorney
                                              AUSA No. 025
                                              400 West Washington Street, Suite 3100
                                              Orlando, Florida 32801
                                              Telephone: (407) 648-7500
                                              Facsimile: (407) 648-7643
                                              E-mail:     karen.gable@usdoj.gov




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